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        In The United States Court of Federal Claims
                                           No. 09-814C

                                      (Filed: May 28, 2010)
                                            __________

 PEW FOREST PRODUCTS,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.
                                             _________

                                             ORDER
                                            __________

        On May 27, 2010, a preliminary status conference was held in this case. Participating in the
conference were Michael Jackson, for plaintiff, and Russell Upton, for defendant. Based on
discussions during the conference, it was agreed that:

       1.      On or before December 13, 2010, fact discovery shall be completed;

       2.      On or before December 20, 2010, the parties shall file a joint status
               report indicating how this case should proceed;

       3.      On or before January 10, 2011, the parties shall disclose their expert
               witnesses;

       4.      On or before March 7, 2011, the parties shall disclose their expert
               report(s); and

       5.      On or before May 6, 2011, depositions of expert witnesses shall be
               completed.

       IT IS SO ORDERED.



                                                              s/ Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
